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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


DR. DEREK MELBY, and DANILO §
POLICARPIO as individuals and on behalf of §
all others similarly situated              §
                                           §
        Plaintiffs,                        §               Civil Action No. 3:17-CV-155-M
                                           §
v.                                         §               consolidated with
                                           §
AMERICA’S MHT, INC., SCOTT POSTLE, §                       Civil Action Nos. 3:17-CV-732-M;
ASCENTIUM CAPITAL, LLC, and §                              3:17-CV-868-M; and 3:17-CV-963-M
CLIFF MCKENZIE                             §
                                           §
        Defendants.                        §

             APPENDIX TO PLAINTIFFS’ MOTION FOR ATTORNEY’S FEES
                    AND MEMORANDUM OF LAW IN SUPPORT

         Pursuant to Local Rule 7.1, Plaintiffs file this Appendix to their Motion for Attorney’s

Fees and Memorandum of Law in Support:


   EXHIBIT                              DESCRIPTION                                 APP. NO.


 Ex. 4             Supplemental Declaration of Robert E. Couhig, Jr.           App. No. 180-83


 Ex. RC-B          Final billing and expense report of Couhig Partners,        App. No. 184-88
                   LLC


 Ex. 5             Declaration of Paul Crouch                                  App. No. 189-92


 Ex. PC-1          Billing and expense report of The Crouch Firm, PLLC         App. No. 193-202


Date: March 19, 2018                                          Respectfully submitted,

                                                              /s/ Jonathan P. Lemann
                                                              E. Leon Carter
                                                              Texas Bar No. 03914300

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                                             Paul Crouch
                                             The Crouch Firm, PLLC
                                             Bar #05144700
                                             5609 Masters Ct.
                                             Flower Mound, TX 75022
                                             Telephone: (817) 714-9820
                                             Facsimile: (855) 886-6374

                                             Couhig Partners, LLC
                                             Robert E. Couhig, Jr.,
                                             Texas Bar No. 04877400
                                             Louisiana Bar Roll No 4439
                                             Donald C. Massey,
                                             Louisiana Bar Roll No. 14177
                                             Jonathan P. Lemann,
                                             Texas Bar No. 24054333
                                             Louisiana Bar Roll No. 26380
                                             Jeffrey T. Pastorek,
                                             Louisiana Bar Roll No. 33309
                                             1100 Poydras Street, Suite 1150
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                                             ATTORNEYS FOR PLAINTIFFS




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                              Exhibit 4




                                                                   App. No. 180
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                                                                    App. No. 181
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                                                                    App. No. 183
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                          Exhibit RC-B




                                                                    App. No. 184
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                                                                                                             Invoice # 2353
                                                                                                           Date: 03/21/2018
                                                                                                         Due On: 04/20/2018



3250 Energy Centre, 1100 Poydras Street
New Orleans, Louisiana 70163
United States


Dr. Derek Melby



1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium
Capital LLC, Univest Capital LLC, etc.

 Services

    Date      Attorney    Description                                                       Quantity    Rate          Total

 03/04/2018       CG      Edits to and supplemental research for Motion for Approval          1.00     $390.00      $390.00
                          and Motion for Fees

 03/05/2018       CG      Final edits and modifications to Motion to Approve, Motion          4.00     $390.00    $1,560.00
                          for Fees and Declarations; File same

 03/09/2018       JP      Conferences with Couhig team and witnesses; Draft                   9.70     $425.00    $4,122.50
                          additional declarations, prepare and organize evidence; Draft
                          memorandum related to conferences with objectors; other
                          preparation for hearing

 03/09/2018       JL      Work on hearing preparation. Confer with clients and work           6.90     $550.00    $3,795.00
                          on declarations. Work on objector and other class member
                          inquiries. Work on bar order.

 03/09/2018       DM      Conferences CP re class rep declarations and additional             8.50     $725.00    $6,162.50
                          submissions to Court; review multiple correspondence/ email
                          exchanges re class rep declarations; assess same; draft
                          revisions; coordinate hearing logistics; review multiple
                          correspondence/ email exchanges re Madlav opt in; call to
                          Dr. Madlav; draft memorandum; review correspondence/
                          email from attorney Allen and exchanges with AC counsel;
                          review subsequent correspondence/ email from Dana
                          Campbell; review multiple correspondence/ email exchanges
                          re objectors and status of objectiors; comprehensive review
                          of materials re comprehensive listing of witnesses, travel,
                          doctor/ gaurantor interactions; and related materials; multiple
                          correspondence/ email to and from CP team re fairness
                          hearing materials, objectors, opt outs, class rep decs, proof
                          that settlement fair, reasonable and adequate, assess briefing;
                          additional communications from objectors; draft
                          memorandum re activity.




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                                                                                                                 App. No. 185
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                                                                    App. No. 186
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                                                                    App. No. 187
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           1713.001/Multi-party lawsuit against America's MHT, Inc., Ascentium Capital LLC, Univest Capital LLC, etc.




 03/14/2018      E110 Out-of-town travel: NEWSOUTH Parking Systems                             1.00         $37.00         $37.00

 03/14/2018      E110 Out-of-town travel: Uniguest Inc.                                        1.00         $25.00         $25.00

                                                                                          Expenses Subtotal               $350.24



Time Keeper                                                               Quantity                       Rate                Total

 Rob Couhig                                                                   14.5                    $775.00          $11,237.50

 Cory Grant                                                                    5.0                    $390.00           $1,950.00

 Jonathan Lemann                                                              38.6                    $550.00          $21,230.00

 Don Massey                                                                   35.6                    $725.00          $25,810.00

 Jeff Pastorek                                                                31.3                    $425.00          $13,302.50

                                                                                                      Subtotal         $73,880.24

                                                                                                        Total          $73,880.24




Detailed Statement of Account

 Other Invoices

     Invoice Number                 Due On                Amount Due                 Payments Received                Balance Due

           2344                    04/08/2018             $1,812,728.50                    $0.00                     $1,812,728.50


 Current Invoice

     Invoice Number                 Due On                Amount Due                 Payments Received                Balance Due

           2353                    04/20/2018              $73,880.24                      $0.00                       $73,880.24

                                                                                        Outstanding Balance          $1,886,608.74

                                                                                           Amount in Trust                  $0.00

                                                                                Total Amount Outstanding             $1,886,608.74




Please make all amounts payable to: COUHIG PARTNERS, LLC                Tax ID #XX-XXXXXXX




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                              Exhibit 5




                                                                    App. No. 189
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                                                                    App. No. 190
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                                                                    App. No. 191
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                           Exhibit PC-1




                                                                    App. No. 193
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                                      Crouch Time Sheet MHT et al
                                                January


Date/Time
01/11/17: confer w/LA counsel/review C/A, assess jurisdictional options/co-counsel discussions:
Time 0.5
01/12/17: multiple pc w/co-counsel/review case and C/A
Time 1.1
01/15/17: pc w/LA counsel/doc review/discuss complaint/rico strategies/client universe/doc
review/draft petition review/named plaintiff discussion/filing timing/co-counsel pc, doc review, email,
conflict checks/pro hac/filing timing confer cc timing
Time 1.2
01/17/17: cc conference/cert of interest/rule 19 discussion/univest pros and
cons/loan/licenses/Ascentium/named plaintiff authorizations review/joinder conference/certification
discussion/multiple complaint CIP/final pleading reviews/filed complaint review
Time 1.3
01/27/17: ve letter review/email/defendant representation confirmation/melby/obisesan/Kumar
reviews/emails
Time 1.1
01/28/17: ve conference/defendants rep/review
Time 0.9
Total Time 6.1




                                                                                              App. No. 194
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                                     Crouch Time Sheet MHT et al
                                                February


Date/Time
02/02/17: pc cc re: tro/filing/fact wit conference/timing discussion/material review/multiple
conferences
Time 1.3
02/03/17: conferences re mht calls/employees/contractors/tro/injunction/declaration discussions/ve
defendants review and discussions/emails/analysis tro issues/pc w/cc
Time 0.9
02/05/17: pc w/cc melby/defendant extension conference re relate to tro viability
Time 1.1
02/09/17: discussions re draft memo tro/doc review/draft correspondence review/cc confer
Time 1.2
02/10/17: draft discussions tro/doc reviews/modifications/pc confer
w/cc/declarations/timing/Watson/Cervantes/Murdoch declarations
Time 1.4
02/13/17: extensive document reviews/Ellwood/Kumar/Melby/class member conference/past
employee stmts/ext confer re strategy moving fwd
Time 1.1
02/16/17: c albert discussion conference email review re tro/ve discussion conference email review re
tro/ve and multiple def email exchanges/responses/consent motion discussions/emails
demands/explanations/requirements/putative class discussion/explanation/agreements
Time 1.8
02/17/17: correspondence review/cc confer/ review draft memo/court order review
Time 0.6
Total Time 9.4




                                                                                                App. No. 195
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                                     Crouch Time Sheet MHT et al
                                                 March


Date/Time
03/01/17: review multiple correspondence/demands/emails/confer re cc conference/coordinate
calendars
Time 0.7
03/06/17: tro conference/final draft review/procedural precedent evidence discussion/exhibit
edit/expedited discovery conference/discovery requests review/edits/modifications/email reviews/filing
confirmation document reviews/review pleadings and supporting docs
Time: 1.4
03/09/17: rico complaint draft review/discussions/email document reviews/rule 12b6
discussions/strategy/conference coordination
Time 0.9
03/10/17: rico class complaint revisions and suggestions/redlines
Time 0.6
03/15/17: service waiver/acceptance discussions/email review/conferences w/cc
Time 0.8
03/21/17: McCurrin email review/disc w/cc/response/correspondence reviews
Time 0.8
03/27/17: cc agreements circulated/emails/discussion
Time 0.7
03/28/17: pc w/dr asadi/multiple emails w/cc
Time 0.8
03/30/17: ascentium demands/discussions/email reviews def c transmissions/discussions/confer w/cc
re values
Time 0.7
Total Time 07.4




                                                                                           App. No. 196
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                                    Crouch Time Sheet MHT et al
                                                April


Date/Time
04/03/17: review correspondence and materials from dr/coordinate strategy among multiple
defendants
Time 0.6
04/07/17: review Notice of Non-Opposition/ Notices of Related Case for each action w/cc/confer
strategy among cc re multiple defendants
Time 1.1
04/10/17: review multiple call/emails/correspondence/PA doc email re univest/related
counsel/response/email/cc conferences
Time 1.3
04/11/17: multiple conferences/emails/pc w/cc re MHT agreements among counsel
Time 1.4
04/12/17: cc discussions/reviews/emails w/cc re MHT agreements among counsel
Time 0.7
04/13/17: review correspondence/review article/confer draft cc/ confer cc
Time 1.0
04/19/17: cc discussions/reviews/emails w/cc re MHT agreements among counsel/ assess waiver issues
Time 1.6
04/22/17: coordinate motion for extension/review related issues/agreements/ draft discussions/assess
master complaint issues
Time 1.2
04/24/17: discuss/assess/confer w/cc re meeting prep
Time 0.8
04/25/17: cc discussions/reviews/emails w/cc re MHT agreements among counsel
Time 0.3
04/26/17: cc discussions/reviews/emails w/cc re MHT agreements among counsel
Time 0.8
Total Time 10.8




                                                                                           App. No. 197
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                                       Crouch Time Sheet MHT et al
                                                   May


Date/Time
05/02/17: confer w/cc/review correspondence/review master complaint/review responsive
correspondence
Time 0.3
05/08/17: review/discuss strategize ongoing br efforts/practices/confer cc re totality of mht
litigation/consolidation/review emails
Time 0.5
05/15/17: review correspondence claims of respective plaintiffs/confer w/cc re status of settlement
negotiations
Time 0.6
05/16/17: review br petition filed in Sherman/research/discussions w/cc/emails/strategy/responsive
correspondence/def discussions review
Time 1.1
05/17/17: cc discussions/reviews/emails w/cc re MHT agreements among counsel/settlement
parameters/ responses/draft reviews
Time 1.2
05/19/17: emails/calls re ed br filing/review strategy/filings counsel
Time 0.6
05/20/17: discussion transfer and dismiss motions/review multiple emails/correspondence
reviews/confer w/cc
Time 0.9
05/23/17: multiple emails w/cc re conference timing and coordination/case reviews/master complaint
discussions
Time 1.1
05/24/17: AC settlement discussions addressed/considered in conference review of proposals and
counters/discussion of class applications
Time 0.8
Total Time 7.1




                                                                                                App. No. 198
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                                     Crouch Time Sheet MHT et al
                                                  June


Date/Time
06/06/17: pc w/cc re scheduling meetings w/counsel related litigation/discuss positioning prior to
meetings/anticipated time frame and locations and sequence
Time 1.1
06/10/17: confer w/cc re B-3 class component/ subclasses/AC structurally/ modified order
structure/supplement/in depth communication w/Stammel/review draft and modifications
Time 1.3
06/11/17: confer final draft class counsel communication w/stammel/multiple email
reviews/communication w/cc re revisions/draft modifications/final reviews
Time 0.9
06/20/17: br communication w/clients review/confer w/cc/strategy conference/multiple client
concerns/Qs/discussions re class/date discussion for related plaintiff visits/scheduling/communication
w/stammel discussion/meeting of creditors/stammel spreadsheet review and discussion/Qs for AMHT
rep discussion/plan/research class settlement issues
Time 1.6
06/23/17: confer at length re stammel settlement discussion/proposal/ approach to the MHT
bankruptcy/ AC, Univest and Balboa/ San Antonio counsel/De Leon/mediator discussions/mediation
dates/continued class settlement parameters/issues/positioning
Time 0.9
06/25/17: stammel motion review and conference/strategy/correspondence reviews/multiple email
reviews/discussions
Time 1.1
06/29/17: review/discussion/confer re draft/modifications client communication re br/ongoing ca/client
communication/concerns/stammel communications/response/strategy conference
Time 0.7
06/30/17: conference/email/call scheduling/correspondence reviews
Time 0.3
Total Time 7.9




                                                                                              App. No. 199
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                                     Crouch Time Sheet MHT et al
                                                 July


Date/Time
07/05/17: br reviews/assess settlement parameters/discussion/research/inventory item reviews
Time 0.6
07/06/17: stammel reviews/discussions/conference class/settlement parameters issues discussion
assessment
Time 0.9
07/09/17: proposal discussion/review/strategy assessment
Time 0.8
07/11/17: ascentium demand assessment/confer/modification/draft discussion/multiple
email/correspondence review
Time 1.2
07/15/17: br creditor meeting discussion/confer br issues/examine related claims/discuss
values/complaint reviews and discussions
Time 1.6
Total Time 5.1




                                                                                           App. No. 200
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                                    Crouch Time Sheet MHT et al
                                              August


Date/Time
08/06/17: conference re Complaint
Time: 1.4
08/18/17: cc re def releases
Time 0.9
Total Time 2.3




                                                                                   App. No. 201
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                                     Crouch Time Sheet MHT et al
                                             September


Date/Time
09/05/17: settlement stipulation discussion w/cc
Time 1.5
09/14/17: communication w/cc re order
Time 1.8
Total Time 3.3




                                                                                    App. No. 202
